FRANK J. NEVINS, ADMINISTRATOR C.T.A., ESTATE OF THOMAS F. NEVINS, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Nevins v. CommissionerDocket No. 3350.United States Board of Tax Appeals12 B.T.A. 869; 1928 BTA LEXIS 3438; June 27, 1928, Promulgated *3438 Frederick W. Marquand, Esq., for the petitioner.  Arthur H. Murray, Esq., for the respondent.  LITTLETON*869  In February, 1923, the Commissioner assessed against Thomas F. Nevins a deficiency of $2,578,56, income tax for the calendar year 1917, and by notice of his final determination mailed February 18, 1925, allowed a claim for abatement of the additional assessment in the amount of $80.20 and rejected the claim for the abatement of $2,498.36.  This proceeding came on for hearing on the day calendar of April 23, 1928, upon the issue whether collection of the additional tax claimed for the year 1917 is barred by the statute of limitation.  FINDINGS OF FACT.  Frank J. Nevins is the duly qualified and acting administrator of the estate of Thomas F. Nevins, deceased.  Thomas F. Nevins was a resident of the State of New York and pursuant to the provisions of the Revenue Act of 1917 he filed his individual income-tax return for the year 1917 on March 29, 1918, with the Collector of Internal Revenue for the First District of New York, which return disclosed a tax liability of $3,554.26 which was paid.  Subsequently the Commissioner audited said return*3439  and in February, 1923, assessed against Thomas F. Nevins additional income tax for 1917 in the amount of $2,578.56.  Upon receipt of notice and demand from the collector of the payment of said additional tax, Thomas F. Nevins, on February 26, 1923, filed his claim for the abatement of the assessment.  The Commissioner by notice of his final determination mailed February 18, 1925, allowed said claim in the amount of $80.20 and rejected *870  the same in the amount of $2,498.36.  No portion of the amount of $2,498.36 claimed by the Commissioner has been paid.  The return of Thomas F. Nevins for the year 1917 was not false or fraudulent with intent to evade the tax and no suit or proceeding for the collection of the additional tax for the year 1917 has been commenced by the Commissioner.  No consent in writing has been entered into by the said Thomas F.Nevins or his estate and the Commissioner for the collection of any additional tax for 1917 beyond the five-year period of limitation.  OPINION.  LITTLETON: Under the facts in this proceeding collection of the deficiency for 1917 is barred by the statute of limitation.  *3440 ; ; . Judgment of no deficiency will be entered.